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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Case No. 1:14-cv-02887-JLK-MEH

ALEJANDRO MENOCAL,
MARCOS BRAMBILA,
GRISEL XAHUENTITLA,
HUGO HERNANDEZ,
LOURDES ARGUETA,
JESUS GAYTAN,
OLGA ALEXAKLINA,
DAGOBERTO VIZGUERRA, and
DEMETRIO VALERGA,
on their own and on behalf of all others similarly situated,

         Plaintiffs,

v.

THE GEO GROUP, INC.,

         Defendant.


     DECLARATION OF ADRIENNE SCHEFFEY IN SUPPORT OF DEFENDANT THE
           GEO GROUP, INC.’S MOTION FOR SUMMARY JUDGMENT


         I, Adrienne Scheffey, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as

follows:

         1.      I am an attorney for defendant The GEO Group, Inc. (“Defendant” or “GEO”) in

the above-captioned matter. I have personal knowledge of the facts set forth below.

         2.      I submit this Declaration in support of GEO’s Motion for Summary Judgment.

         3.      Attached is an index of attached exhibits as required by this Court’s practice

standards. The exhibits are also outlined below.



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         4.    Attached as Exhibit A are true and correct copies of the Named Plaintiffs’,

Alejandro Menocal, Marcos Brambila, Grisel Xahuentitla, Hugo Hernandez, Lourdes Argueta,

Jesus Gaytan, Olga Alexaklina, Dagoberto Vizguerra, And Demetrio Valerga, Supplemental

Responses to GEO’s Sixth Set of Interrogatories.

         5.    Attached as Exhibit B is a true and correct copy of an ICE National Detainee

Handbook that was used during the class period. Filed with this court as Level 1 Restricted.

         6.    Attached as Exhibit C are true and correct copies of excerpts of Named Plaintiffs’,

Alejandro Menocal, Marcos Brambila, Grisel Xahuentitla, Hugo Hernandez, Lourdes Argueta,

Jesus Gaytan, Olga Alexaklina, Dagoberto Vizguerra, And Demetrio Valerga, Voluntary Work

Program Applications.

         7.    Attached as Exhibit D are true and correct copies of excerpts of Dawn Ceja’s first

30(b)(6) deposition, taken by Plaintiffs on March 29, 2016.

         8.    Attached as Exhibit E are true and correct copies of excerpts of Alejandro

Menocal’s deposition, taken by GEO on July 22, 2020.

         9.    Attached as Exhibit F are true and correct copies of excerpts of Hugo Hernandez

Ceren’s deposition, taken by GEO on June 24, 2020.

         10.   Attached as Exhibit G are true and correct copies of excerpts from Demetrio

Valerga’s deposition, taken by GEO on October 27, 2017.

         11.   Attached as Exhibit H are true and correct copies of excerpts from the Named

Plaintiffs’, Alejandro Menocal, Grisel Xahuentitla, Hugo Hernandez, Lourdes Argueta, Jesus




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Gaytan, Olga Alexaklina, Dagoberto Vizguerra, And Demetrio Valerga, Objections and Responses

to GEO’s Second Set of Written Discovery Requests.1

         12.   Attached as Exhibit I are true and correct copies of excerpts from Dagoberto

Vizguerra’s deposition, taken by GEO on February 21, 2018.

         13.   Attached as Exhibit J are true and correct copies of excerpts of Grisel Xahuentitla’s

deposition transcript taken by GEO on October 26, 2017.

         14.   Attached as Exhibit K are true and correct copies of excerpts of the deposition of

Dr. Stuart Grassian, Plaintiffs’ expert witness, whose deposition was taken by GEO on July 23,

2020. Filed with this court as Level 1 Restricted.

         15.   Attached as Exhibit L are true and correct copies of excerpts of Jesus Yepez

Gaytan’s deposition, taken by GEO on November 16, 2017.

         16.   Attached as Exhibit M are true and correct copies of excerpts of Joyce Quezada’s

deposition, taken by Plaintiffs on July 28, 2020.

         17.   Attached as Exhibit N are true and correct copies of declarations submitted in

support of this action from GEO’s employees: Sergio Gallegos, Louis Pagan, Joyce Quezada, and

Dawn Ceja.

         18.   Attached as Exhibit O are true and correct copies of excerpts of Dawn Ceja’s

second 30(b)(6) deposition, taken by Plaintiffs on August 5, 2020.

         19.   Attached as Exhibit P are true and correct copies of excerpts of Dan Ragsdale’s

30(b)(6) deposition, taken by Plaintiffs February 27, 2020.



1
 Marcos Brambila never provided responses to GEO's Second Set of Interrogatories. At trial,
GEO will seek an adverse inference.

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         20.    Attached as Exhibit Q are true and correct copies of excerpts of Brian Evans

deposition, taken by Plaintiffs on June 10, 2020.

         Executed this 17th day of August, 2020, in Denver, Colorado.

                                                    s/ Adrienne Scheffey
                                                    Adrienne Scheffey




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                                     CERTIFICATE OF SERVICE

             I hereby certify on this 17th day of August, 2020, a true and correct copy of the foregoing

    DECLARATION OF ADRIENNE SCHEFFEY IN SUPPORT OF DEFENDANT THE GEO

    GROUP, INC.’S MOTION FOR SUMMARY JUDGMENT was filed and served

    electronically via the Court’s CM/ECF system on the following:

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                                                          s/ Nick Mangels
                                                          Nick Mangels




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                        IN THE UNITED STATES DISTRICT COURT
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Civil Case No. 1:14-cv-02887-JLK-MEH

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on their own and on behalf of all others similarly situated,

         Plaintiffs,

v.

THE GEO GROUP, INC.,

         Defendant.


INDEX OF EXHIBITS TO DECLARATION OF ADRIENNE SCHEFFEY IN SUPPORT
OF DEFENDANT THE GEO GROUP, INC.’S MOTION FOR SUMMARY JUDGMENT



 Exhibit                                         Description

     A       Named Plaintiffs’ Supplemental Responses to GEO’s Sixth Set of Interrogatories

     B       ICE National Detainee Handbook – Filed with this Court as Level 1 Restricted

     C       Excerpts of Named Plaintiffs’ Voluntary Work Program Applications

     D       Excerpts of Dawn Ceja’s first 30(b)(6) Deposition Transcript dated March 29, 2016

     E       Excerpts of Alejandro Menocal’s Deposition Transcript dated July 22, 2020

     F       Excerpts of Hugo Hernandez Ceren’s Deposition Transcript dated June 24, 2020



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 Exhibit                                         Description

    G        Excerpts from Demetrio Valerga’s Deposition Transcript October 27, 2017
             Named Plaintiffs’ Objections and Responses to GEO’s Second Set of Written
    H
             Discovery Requests
    I        Excerpts from Dagoberto Vizguerra’s Deposition Transcript dated February 21, 2018

    J        Excerpts of Grisel Xahuentitla’s Deposition Transcript dated October 26, 2017
             Excerpts of the deposition of Dr. Stuart Grassian Deposition Transcript dated July 23,
    K
             2020 – Filed with this Court as Level 1 Restricted
    L        Excerpts of Jesus Yepez Gaytan’s Deposition Transcript dated November 16, 2017

    M        Excerpts of Joyce Quezada’s Deposition Transcript dated July 28, 2020

    N        Declarations of Sergio Gallegos, Louis Pagan, Joyce Quezada, and Dawn Ceja

    O        Excerpts of Dawn Ceja’s second 30(b)(6) Deposition Transcript dated August 5, 2020

    P        Excerpts of Dan Ragsdale’s 30(b)(6) Deposition Transcript dated February 27, 2020

    Q        Excerpts of Brian Evans Deposition Transcript dated June 10, 2020




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